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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF DELAWARE



ROTHSCHILD DIGITAL
CONFIRMATION, LLC,

                       Plaintiff,
                                                  Civil Action No. _____________
       v.
                                                  PATENT
ACUMATICA, INC.,

                  Defendant.
___________________________________



                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Rothschild Digital Confirmation, LLC. (“Rothschild” or “Plaintiff”), through its

undersigned attorneys, sues Defendant, Acumatica, Inc. (“Acumatica”), and alleges:

                                NATURE OF THE ACTION

       1.      This is an action for infringement of U.S. Patent No. 7,456,872, (“the ʼ872

patent”), arising under the patent laws of the United States, Title 35, United States Code, 35

U.S.C. §§ 271 and 281. This action relates to the unauthorized making, using, offering for sale,

selling, and/or importing of unauthorized products that infringe the claims of the ’872 patent. As

set forth herein, Plaintiff brings this action to enjoin Defendant from infringing the ’872 patent

and to recover all damages associated with the infringement of the ’872 patent, including

attorneys’ fees and costs.
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                                              PARTIES

        2.      Rothschild is a corporation organized and existing under the laws of the State of

Texas, with its principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093-

5189.

        3.      Upon information and belief, Acumatica is a corporation organized and existing

under the laws of the State of Delaware, having a principal place of business and its headquarters

at 11235 SE 6th St. Suite 140, Bellevue, WA 9800.

                                  JURISDICTION AND VENUE

        4.      This action arises under the patent laws of the United States, 35 U.S.C. §§ 100, et

seq, and this Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331

and 1338(a). Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1400(b).

        5.      Upon information and belief, this Court has personal jurisdiction over Acumatica,

because, inter alia, Acumatica is incorporated in this district and has its registered agent in this

district, and has a principal place of business in this district.

        6.      Upon information and belief, Acumatica regularly and continuously transacts

business within the State of Delaware, including availing itself of the privilege of conducting

business in the State of Delaware by selling its Acumatica products there for use by Delaware

citizens. Upon information and belief, Acumatica derives substantial revenue from its sales

including residents in the State of Delaware. For instance, Acumatica offers its products for sale

online to customers, including customers in Delaware. See https://Acumatica.com/features.

        7.      Upon information and belief, Acumatica will directly and/or through its

employees or agents, and/or its customers, uses products, as defined below, that contain each and

every element of at least one claim of the ’872 patent with the knowledge and/or understanding

that such products are used or will be used in this District. For example, Defendant offers the

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accused product to customers in Delaware through its website. See id. Upon information and

belief, Defendant has engaged in substantial and not isolated activity within the district. For

these reasons, exercise of jurisdiction over Defendant is proper and will not offend traditional

notions of fair play and substantial justice.

       8.      Regarding at least some of its activities, Defendant solicits business from and

markets its products to consumers within Delaware by providing a product that verifies an

assignment of a user, as described in the ’872 patent.

       9.      In addition to Defendant’s continuously and systematically conducting business in

Delaware, the causes of action against Defendant are connected (but not limited) to Defendant’s

purposeful acts committed in the State of Delaware including Defendant’s use of a locational

image verification device for verifying an assignment of a user, as described in the ‘872 Patent.

       10.     Defendant is a company that has a regular and established presence in the district

and makes and uses a product that us locational image verification device for verifying an

assignment of a user. See Exhibit 2.

       11.     Defendant’s product includes a user verification module for verifying an identity

of a user of the device, which upon verification of the user, the user verification module enables

operation of the device and provides an assignment to the user. See id.

       12.     Defendant’s product includes a capture module for capturing an image relating to

the assignment and creating a digital image file wherein the user verification verifies the identity

of the user of the device at a time of the image capture. See id.

       13.     Defendant’s product includes a locational information module for determining a

location of the device when capturing the image.

       14.     Defendant’s product includes a date and time module for determining a date and

time of the image capture. See id.

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       15.     Defendant’s product includes a processing module for associating the assignment,

the user identity, location information and the time and date to the digital image file. See id.

       16.     Defendant’s product includes an encryption module for encrypting the digital

image file and associated information (e.g., data encryption) upon image capture. See id.

       17.     For the reasons set forth above, venue is proper in this judicial district under both

28 U.S.C. § 1400(b).

                                         BACKGROUND

       18.     On November 25, 2008, the United States Patent and Trademark Office

(“USPTO”) duly and legally issued the ’872 patent, entitled “Device and method for embedding

and retrieving information in digital images” after a full and fair examination. See Exhibit 1.

       19.     Rothschild is presently the owner of the patent, having received all right, title and

interest in and to the ’872 patent from the previous assignee of record. Therefore, Rothschild, as

the owner of the entire right, title and interest in the ’872 patent, possesses the right to sue for

infringement of the ’872 patent to recover past and present damages, as well as seek an

injunction or reasonable royalties against future infringement.

                                       THE ’872 PATENT

       20.     The ’872 patent contains a total of thirty-nine (39) claims: two (2) independent

claims and thirty-seven (37) dependent claims.

       21.     The ’872 patent claims locational image devices and methods for verifying an

assignment of a user.

       22.     Defendant commercializes, inter alia, locational image software for devices that

include each and every element and/or performs each and every step of at least one claim of the

’872 patent

       23.     The ’872 patent will expire no earlier than September 16, 2026.

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         24.        The ’872 patent discloses and claims, in part, “Devices, systems and methods for

capturing, storing, allowing user input, receiving internal input, processing, transmitting,

scanning, and displaying digital images is provided. Digital photography has gained a substantial

share of the worldwide photographic market.” See Exhibit 1 at Col. 2, lines 10-13. The

invention disclosed and claimed in the ’872 patent solved at least one technical issue associated

with the art of digital image and data processing. For example, the invention increased the ease

of use and efficiency of organizing images and associating vital information with a collection of

images. As such, the invention disclosed and claimed in the ’872 patent represents a technical

solution to a problem associated with digital image capture.

                    INFRINGEMENT BY ACUMATICA AND ITS CUSTOMERS

         25.        The accused products include, but are not limited to, Acumatica’s Cloud ERP

Field Service Edition (“the Accused Product”). Acumatica instructs its customers to install the

Accused Product on mobile devices and use the Accused Product in accordance with the

invention described and claimed in the ’872.              This constitutes direct infringement by

Acumatica’s customers and indirect infringement by Acumatica. Furthermore, upon information

and belief, Acumatica has tested the Accused Product on mobile devices, and this constitutes

direct infringement by Acumatica.

         26.        The Accused Product when used on the mobile device infringes claim 27. The

Accused Product allows for a method for verifying an assignment of a user. See Exhibit 2;

https://www.acumatica.com/cloud-erp-software/field-service-management/;

https://www.youtube.com/watch?v=_E2tlFk9YK4. Upon information and belief, Defendant has

tested the Accused Product on mobile devices and has thus infringed claim 27 of the ’872 patent

during         at    least    testing   of    the     Accused     Product.        See,    generally,



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https://www.acumatica.com/cloud-erp-software/field-service-management/;

https://www.youtube.com/watch?v=_E2tlFk9YK4.

         27.   When used by Acumatica’s customers, as instructed by Acumatica, and, upon

information and belief, used during testing of the Accused Product by Acumatica, the Accused

Product on the mobile device performs the step of verifying a user of the device to enable use of

the device. See Exhibit 2; https://www.youtube.com/watch?v=_E2tlFk9YK4.

         28.   When used by Acumatica’s customers, as instructed by Acumatica, and, upon

information and belief, used during testing of the Accused Product by Acumatica, the Accused

Product on the mobile device performs the step of receiving assignment information for the user

upon verification (e.g., mobile application checks the entered login credentials of the user and

verify an individual. Upon successful verification of the user, mobile application is displaying

work       agenda         assigned      to         an         individual).              See         Exhibit     2;

https://www.youtube.com/watch?v=_E2tlFk9YK4;                          https://www.acumatica.com/blog/field-

service-management-software-integrated-erp-provides-orchestrated-workflow/.

         29.   When used by Acumatica’s customers, as instructed by Acumatica, and, upon

information and belief, used during testing of the Accused Product by Acumatica, the Accused

Product on the mobile device performs the step of capturing an image with an imaging device

relating to the assignment and creating a digital image file (e.g., the user can click the image of

the     work   progress     and      sync    the    data       with     a    server).         See     Exhibit   2;

https://www.youtube.com/watch?v=_E2tlFk9YK4;                          https://www.acumatica.com/blog/field-

service-management-software-integrated-erp-provides-orchestrated-workflow/.

         30.   When used by Acumatica’s customers, as instructed by Acumatica, and, upon

information and belief, used during testing of the Accused Product by Acumatica, the Accused

Product on the mobile device performs the step of determining an identity of the user at a time of

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the image capture (e.g., after successful login, the user can capture an image of the assignment).

See Exhibit 2; https://www.acumatica.com/blog/field-service-management-software-integrated-

erp-provides-orchestrated-workflow/.

       31.     When used by Acumatica’s customers, as instructed by Acumatica, and, upon

information and belief, used during testing of the Accused Product by Acumatica, the Accused

Product on the mobile device performs the step of determining a location of the device upon

image capture (e.g., using the GPS signal to capture a real time location of the mobile device).

See Exhibit 2; https://www.acumatica.com/blog/field-service-management-software-integrated-

erp-provides-orchestrated-workflow/.

       32.     When used by Acumatica’s customers, as instructed by Acumatica, and, upon

information and belief, used during testing of the Accused Product by Acumatica, the Accused

Product on the mobile device performs the step of determining a date and time of the image

capture (e.g., associating the job time spent with the field data collected by the user). See Exhibit

2; https://www.youtube.com/watch?v=Pp_kwj_Wv8k; https://www.acumatica.com/cloud-erp-

software/field-service-management/.

       33.     When used by Acumatica’s customers, as instructed by Acumatica, and, upon

information and belief, used during testing of the Accused Product by Acumatica, the Accused

Product on the mobile device performs the step of associating the assignment information, the

user identity, location information and the date and time to the digital image file (e.g., collecting

the filed information from the user and link the captured photos, real time location date and a

time   spent    on    the   field   to   complete     the   assignments).        See    Exhibit   2;

https://www.acumatica.com/blog/field-service-management-software-integrated-erp-provides-

orchestrated-workflow/;             https://www.acumatica.com/cloud-erp-software/field-service-

management/.

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        34.      When used by Acumatica’s customers, as instructed by Acumatica, and, upon

information and belief, used during testing of the Accused Product by Acumatica, the Accused

Product on the mobile device performs the step of encrypting the associated information and

digital image file upon image capture (e.g., SSL technologies are used for encryption). See

Exhibit 2; https://www.acumatica.com/acumatica-saas-faq/.

        35.      As shown in paragraphs 25-34 above, the Accused Product as installed on a

mobile device contains all of the elements of at least claim 27 of the ’872 patent. Defendant’s

Accused Product is enabled by invention described and claimed in the ’872 patent.

                                             COUNT I

          (DIRECT INFRINGEMENT OF THE ’872 PATENT BY ACUMATICA)

        36.      Each of the preceding paragraphs 1 through 35 are realleged and incorporated as

if fully set forth.

        37.      In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ’872 patent.

        38.      Defendant has had knowledge of infringement of the ’872 patent, or will have

knowledge of infringement of the ’872 patent upon the service of this Complaint. Defendant’s

infringement of the ’872 patent will thus be knowing and intentional at least upon the service of

this Complaint.

        39.      Defendant has directly infringed and continues to directly infringe at least claim

27 of the ’872 patent by making, using, offering to sell, selling, and/or importing the Accused

Product with a mobile device without authority in the United States. Defendant does not have a

license or authorization to use any product covered by the claims of the ’872 patent.

        40.      As a direct and proximate result of Defendant’s direct infringement of the ’872

patent, Plaintiff has been and continues to be damaged.

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        41.      By engaging in the conduct described herein, Defendant has injured Rothschild

and is thus liable for direct infringement of the ’872 patent, pursuant to 35 U.S.C. § 271(a).

        42.      As a result of Defendant’s infringement of the ’872 patent, Rothschild has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

        43.      If infringement of the ’872 patent by Acumatica is not enjoined, Rothschild will

suffer substantial and irreparable harm now and in the future for which there is no adequate

remedy at law.

                                            COUNT II

         (INDIRECT INFRINGEMENT OF THE ’872 PATENT BY ACUMATICA)

        44.      Each of the preceding paragraphs 1 through 43 are realleged and incorporated as

if fully set forth.

        45.      In violation of, at least, 35 U.S.C. §§ 271, Defendant is now, and has been

indirectly infringing the ’872 patent.

        46.      Defendant has indirectly infringed and continues to indirectly infringe at least

claim 27 of the ’872 patent by actively inducing and/or contributing to its respective customers,

users, and/or licensees to directly infringe by using the Accused Product in a manner that

infringes the ’872 patent. Defendant engaged or will have engaged in such inducement and/or

contributory infringement having knowledge of the ’872 patent. Defendant also knew or should

have known that its action would induce direct infringement by others and intended that its

actions would induce direct infringement by others. For example, Defendant sells, offers to sell

and advertises the Accused Product through websites or digital distribution platforms that are

available in the State of Delaware, specifically intending that its customers use it on mobile

devices.

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       47.     Furthermore, Defendant’s customers’ use of the Accused Product is facilitated by

the use of the device and method described and claimed in the ’872 patent. As a direct and

proximate result of Defendant’s indirect infringement by inducement of the ’872 patent, Plaintiff

has been and continues to be damaged.

       48.     Neither Defendant nor its customers, licensees, and users have license or

authorization to the ’872 patent.

       49.     As a result of Defendant’s indirect infringement and its customers’ direct

infringement of the ’872 patent, Rothschild has suffered monetary damages and is entitled to a

monetary judgment in an amount adequate to compensate for Defendant’s past infringement,

together with interests and costs.

       50.     If Defendant’s direct infringement and its customers’ direct infringement of the

’872 patent is not enjoined, Rothschild will suffer substantial and irreparable harm now and in

the future for which there is no adequate remedy at law.

                               DEMAND FOR JURY TRIAL

       51.     Rothschild demands a trial by jury of all causes of action that are so triable.

                                     REQUEST FOR RELIEF

       WHEREFORE, Rothschild respectfully requests that this Court grant the following relief:

       1.      That Defendant be adjudged to have infringed the ’872 patent directly, literally

and/or under the doctrine of equivalents;

       2.      An order permanently enjoining Acumatica, its affiliates, subsidiaries, and each of

its officers, agents, servants and employees, and those acting in privity or concert with it, from

making, using, offering to sell, or selling in the United States, or importing into the United

States, the Accused Product, any component of the Accused Product that constitutes a material

part of the claimed invention, or any product that infringes the ’872 patent until after the

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expiration date of the ’872 patent, including any extensions and/or additional periods of

exclusivity to which Rothschild is, or becomes, entitled;

       3.      An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate

Rothschild for the Defendant’s past infringement and any continuing or future infringement up

until the date that Defendant is finally and permanently enjoined from further infringement,

including compensatory damages;

       4.      An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest, expert fees, and costs incurred during this

litigation, in accordance with 35 U.S.C. §284;

       5.      That Defendant’s infringement after service of this Complaint is intentional and

knowing infringement and the assessment of three times the damages found for infringement

after service of this Complaint, in accordance with 35 U.S.C. §284;

       6.      That Defendant be directed to pay enhanced damages, including Rothschild’s

attorneys’ fees incurred during this litigation pursuant to 35 U.S.C. §285; and

       7.      Such further relief as this Court deems proper and just, including but not limited

to any appropriate relief under Title 35.

Dated: June 15, 2019.                              STAMOULIS & WEINBLATT, LLP

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